                                                                                                                        Page 1 of 6


                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                              WESTERN DISTRICT OF MISSOURI
                                                   CENTRAL DIVISION

UNITED STATES OF AMERICA

-vs-                                                                   Case No.: 07-4026-04-CV-C-SOW

ERICA DANIECE KELLEY

                                                                       USM Number: 19970-045

                                                                       Ruth O’Neill, CJA
                                                                       1001 Rangeline
                                                                       Columbia, MO 65201
___________________________________

                                               JUDGMENT IN A CRIMINAL CASE


The defendant pleaded guilty to Count 1 of the indictment on 7/30/07. Accordingly, the court has adjudicated that the defendant
is guilty of the following offense(s):

                                                                                           Date Offense            Count
       Title & Section                             Nature of Offense                        Concluded            Number(s)

 18 U.S.C. 371, 1343,            Conspiracy to Commit Wire Fraud, Mail Fraud,              December 14,                1
 1341, and 1028(a)(7);           Identity Fraud, Social Security Fraud, and Unlawful      2006
 42 U.S.C. 408(a)(7)(B)          Disclosure of a Social Security Number
 and (a)(8)(Class C
 felony)

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                       Date of Imposition of Sentence: March 17, 2008



                                                                                     /s/ Scott O. Wright
                                                                                ______________________________________
                                                                                                   SCOTT O. WRIGHT
                                                                                 SENIOR UNITED STATES DISTRICT JUDGE

                                                                                              March ___20____,2008




AO 245B (Rev. 12/03) Judgment in a Criminal Case
                 Case 2:07-cr-04026-SOW                Document 131          Filed 03/20/08       Page 1 of 6
ERICA DANIECE KELLEY                                                                                                     Page 2 of 6
07-4026-04-CV-C-SOW

                                                        PROBATION

The defendant is hereby placed on probation for a term of 5 Years on count 1 of the indictment.

While on probation, the defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two
periodic drug tests thereafter, as determined by the court.

          The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low
risk of future substance abuse.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or probation officer;

2.       The defendant shall report to the probation officer and shall submit a truthful and complete written report within the
         first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
         person convicted of a felony, unless granted permission to do so by the probation officer;

10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
         law enforcement officer;



AO 245B (Rev. 12/03) Judgment in a Criminal Case
                 Case 2:07-cr-04026-SOW              Document 131           Filed 03/20/08        Page 2 of 6
ERICA DANIECE KELLEY                                                                                                  Page 3 of 6
07-4026-04-CV-C-SOW

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of the court;

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifications and to confirm the defendant’s compliance with such notification requirement.




AO 245B (Rev. 12/03) Judgment in a Criminal Case
                 Case 2:07-cr-04026-SOW              Document 131          Filed 03/20/08        Page 3 of 6
ERICA DANIECE KELLEY                                                                                                  Page 4 of 6
07-4026-04-CV-C-SOW

                                      ADDITIONAL CONDITIONS OF PROBATION

         The defendant shall also comply with the following additional conditions of probation:

1.       The defendant shall pay any restitution balance during the first 54 months of probation on the schedule set by the
         Court.


2.       The defendant shall submit her person, residence, office or vehicle to a search, conducted by a U.S. Probation Officer
         at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
         violation of a condition of probation; failure to submit to a search may be grounds for revocation; the defendant shall
         warn any other residents that the premises may be subject to searches pursuant to this condition.


3.       The defendant shall not incur new credit card charges or open additional lines of credit without the approval of the
         Probation Office, while court-ordered financial obligations are outstanding.


4.       The defendant shall provide the Probation Officer access to any requested financial information.




                                     ACKNOWLEDGMENT OF CONDITIONS

        I have read or have had read to me the conditions of supervision set forth in this judgment and I fully understand them.
I have been provided a copy of them.

        I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

_______________________________________                 ____________________
Defendant                                               Date

________________________________________                ____________________
United States Probation Officer                          Date




AO 245B (Rev. 12/03) Judgment in a Criminal Case
                 Case 2:07-cr-04026-SOW              Document 131          Filed 03/20/08         Page 4 of 6
ERICA DANIECE KELLEY                                                                                                                           Page 5 of 6
07-4026-04-CV-C-SOW

                                                CRIMINAL MONETARY PENALTIES


       The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the Schedule
of Payments.

             Total Assessment                                         Total Fine
                                                                                                                     *Total Restitution
                      $100                                                  $                                            $161,224.52


         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          The Court has determined that the defendant does not have the ability to pay interest, and it is ordered that:

                    The interest requirement is waived for the restitution.

Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.

* See separate Restitution Judgement for further details




AO 245B (Rev. 12/03) Judgment in a Criminal Case
                   Case 2:07-cr-04026-SOW                       Document 131               Filed 03/20/08            Page 5 of 6
ERICA DANIECE KELLEY                                                                                                   Page 6 of 6
07-4026-04-CV-C-SOW

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

         Lump sum payment of $161324.52 due immediately, balance due in accordance with F below.

         F.       Special instructions regarding the payment of criminal monetary penalties:

         A lump sum payment of the full amount is ordered due immediately. If unable to pay the full amount
         immediately, the defendant shall make monthly payments of $100 or 10 percent of gross income, whichever
         is greater, while on supervision.
         While restitution is still owed, the defendant shall notify the United States Attorney of any change of residence within
         30 days and notify the Court and United States Attorney when there is a material change in the defendant’s economic
         circumstances.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



         Joint and Several

Defendant and Co-Defendant Names and Case Numbers, (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.

Robin Lynnette Deardorff 07-04026-02-CR-C-SOW
Angie Marie Roark, 07-04026-03-CR-C-SOW
Erica Daniece Kelley, 07-04026-04-CR-C-SOW
Krystal Gail Stephens, 07-04026-05-CR-C-SOW
Anna Mary Stephens, 07-04026-06-CR-C-SOW
Brenda McKay Adams, 07-04026-07-CR-C-SOW




AO 245B (Rev. 12/03) Judgment in a Criminal Case
                 Case 2:07-cr-04026-SOW                Document 131         Filed 03/20/08        Page 6 of 6
